     Laclede County Detention Center
                 Inmate Handbook



                    David Millsap
                         Sheriff


                  James Thomson
        Support Division Commander


                     Angel Clark
               Detention Lieutenant




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                                                   PREFACE

The Laclede County Detention Center recognizes, and will adhere to, the principal that all persons, no
matter what their status, shall be treated with human dignity. Inmates shall be afforded all reasonable
rights and privileges consistent with the facility’s security and operational requirements. However,
inmates must treat court personnel, staff, citizens, and their inmates with the same dignity, respect and
courtesy.



                                        RULES AND INFORMATION

The following rules and information are intended to aid and inform you of what is expected of you and what is
available to you while in custody at the Laclede County Detention Center.

You are reminded that all local, state, and federal laws relative to criminal behavior are fully in effect while
you are at this facility. Violations may result in criminal prosecutions.

    •   All inmates will conduct themselves in a civil manner at all times.
    •   All facility rules, regulations, procedures and orders, whether written or verbal, will be followed
        immediately.
    •   Inmates will keep themselves neat, clean, and well groomed at all times.
    •   Inmates will keep their living areas, including bunks and common area, neat, clean, and orderly.
    •   Inmates shall not cover interior or exterior windows in their cells or pod.
    •   Inmates will treat staff in a courteous manner.
    •   Although issued to you, this Inmate handbook is not your property. It belongs to the Sheriff of Laclede
        County. Destruction of, defacing, or writing in this manual shall result in discipline or criminal
        charges. This manual must be returned prior to your release.

                                                   WARNING

                       Your right to privacy in the detention center is extremely limited.

                                      Emergency Evacuation Procedures

Inmates will observe the following procedures during an emergency evacuation:

    1. Under no circumstances attempt to recover personal effects. Delays in evacuation could cause serious
       injury.
    2. Inmates are to line up in single file and move away from hazardous areas as directed by the staff.
       Should any area of the facility need to be evacuated, inmates will be moved away from the affected
       area and directed to a safe location.




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                                         GENERAL INFORMATION

Searches – All inmates entering the Laclede County Detention Center are subject to a custodial search, and
will have all property removed including jewelry, belts, and wallets.

Property Release – Inmates are permitted to release their personal property bag. The personal property bag
must be released in its entirety. Releasing only parts of the personal property bag will not be permitted.
Inmates that are sentenced to the Department of Corrections will fill out a property release form and the named
person will have 30 days to pick up the inmate’s property. The property will not be released until the inmate
has been transported to the Department of Corrections.

Releasing Money – Inmates are not permitted to release their funds to anyone. If an inmate is transferred to
another facility their funds will be mailed to the facility.

Return of Inmate Funds Upon Release – Inmates can pick up their funds during business hours after release.
They will be issued a debt card with their remaining funds on it.

Booking Procedures – All inmates entering the Laclede County Detention Center will be asked questions
regarding their identity and health. Inmates will also be photographed, IRIS scan and fingerprinted. These
procedures do not violate the inmate’s rights. Failure to cooperate may result in discipline and/or a delay in
release. If an inmate falsely identifies themselves as another person the inmate shall be charged with a crime.

Mattress – Each bunk will have no more than one mattress, unless authorized by the Medical Staff.
Mattresses are to remain on the bunk at all times. Under no circumstances are mattresses to be placed on the
floor or removed from the cell or POD unless approved by an officer. Inmates will be issued a mattress and
they are responsible for the care and return of the mattress. If the mattress is not returned in the condition it
was issued the inmate shall be monetarily charged for the destruction of the mattress.

Showers – Showers are provided for inmate use. Inmates will be responsible to keep them clean and to notify
an Officer immediately if any repairs are needed. Inmates are required to shower regularly.

Hygiene Kits – Each inmate will be issued a plastic drinking cup, toothpaste, toothbrush, comb, soap and
deodorant. Upon release the inmate must return the cup in the same condition it was issued or they could be
charged the replacement value. Inmates will be subject to disciplinary action if they alter the toothbrush or
comb.

Smoking – Inmates are not permitted to have any tobacco products, imitation tobacco, or lighting implements.
Inmates will be permitted to order one e-cigarette twice a week at $10.00 each. Inmates must return the e-
cigarette from the prior order and it must be unaltered in any way to receive the new e-cigarette. If the e-
cigarette is altered in any way or the prior ordered e-cigarette is not turned in the privilege will be taken away
from the inmate.

Announcements – Inmates will be attentive to all announcements made, whether in person, or in writing, or
over the public address system. Inmates will follow any instructions given by staff.

Court Appearance – You will be notified of scheduled court appearances in advance so the inmate can be
ready when they are called to court. Inmates are not permitted to take any personal property to court. There
shall be no contact or communications of any kind with anyone in the courtroom audience. Inmates called to
court must be fully dressed in their detention issued clothing.

Meals – Special diets will be considered only for medical and religious reasons. Meals will be served three
times daily. Inmates must be properly dressed when receiving their meals. Headcounts will be performed
during the meal pass. It is not mandatory for inmates to eat but each inmate is only permitted to have ONE
tray. Inmates are not permitted to keep any uneaten food from the meals; doing so will be grounds for
disciplinary action. Inmates on lockdown will eat their meals in their assigned cell.

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Commissary – Commissary will be handed out on Friday’s; excluding holidays or other delays. Commissary
orders must be in no later than 9:00 am on Thursday. The maximum amount an inmate can spend is $63.00 per
week. At the time commissary is handed out it is the inmate’s responsibility to check the contents of the order
and sign for items. Any discrepancies in the order will be noted on the order form and an inmate request form.
Once the order has been verified no additional corrections will be made.

If an inmate is released prior to receiving their commissary order they can do either of the following:

    •   Fill out a property release form releasing the order to another inmate
    •   Fill out a property release form releasing it to a friend or family member but the order must be picked
        up within 72 hours or the order is forfeited.

Inmates on lockdown will only be permitted to order commissary but they will only receive paper, pen,
envelopes and their hygiene products.

Indigent Packs – Indigent packs contain hygiene products, 5 envelopes, one pen and a notebook. Indigent
packs will only be given to inmates that are indigent for 30 days. Indigent packs are normally handed out on
the 25th of the month.

Money – Inmates can have money put on their account in the following ways:
  • Inmates can receive a money order through the mail.
  • Family or friends can put money on with the Kiosk in the lobby of the Laclede County Sheriff’s
      Office.
  • Family or friends can go to www.accesscorrections.com or call 1(866)345-1884

Telephone Privileges – Inmates being held for more than 24-hours will be permitted use the intake phone to
make a free 5-minute call after being booked into the facility. Once the inmate’s 24-hour hold is complete or
they have been charged they will be permitted the use of the intake telephone.

Once an inmate has been housed, they will not be permitted to return to intake to use the intake telephone.
Inmates will only be able to make outgoing calls for the telephones located in the day room of the pods. Calls
made from the pod telephones will either be collect calls, debt calls (the money will come directly off the
inmates account) or prepaid calls (the number the inmate calls has setup a prepaid account on the line). For
prepaid phone accounts family or friends can go to www.icsolutions.com or call 1(888)506-8407 to setup an
account.

USE OF THE TELEPHONES IS A PRIVILEGE, NOT A RIGHT, AND MAYBE REVOKED OR
RESTRICTED AT ANY TIME AND FOR ANY REASON DEEMED APPROPRIATE BY STAFF.
Inmate conduct will determine availability.

Visitation

    •   Facility visits – inmates may have one 30 minute visit a week. The day of the visit will be determined
        on their housing location. The following rules apply:
        • Inmates can only have six people on their visitation list.
        • Inmates cannot remove anyone from their list once it is complete
        • Inmates shall not list anyone under the age 17, excluding relatives, minor children, under 17 must
            be accompanied by an adult.
        • ALL visitors must have a valid picture ID, no outstanding warrants. Visitors on Probation or
            Parole they will need a letter from their officer stating they are permitted to visit.
        • Inmates are only permitted to change the visitation list once every 12 months.
    •   Facility Video visit – inmates can have one 30 minute visit a week on any day during the hours of
        6:00 pm to 8:00 pm. Facility video visits must be schedule prior to the day of the visit.
    •   Online Video visit – inmates can have up to three thirty-minute visit’s a week.

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        Video Visit – Family and friends can register online at www.icsvideovisit.com or in the lobby at the
        Laclede County Sheriff’s Office.
Inmate Visitation Conduct:
    • Inmates not scheduled for a video visit are not permitted to participate in a video visit. Violations may
        cause the loss of this privilege.
    • Inmates causing loud, boisterous or disruptive behavior during or while in route to the visit will have
        the visit terminated. Such action may result in the loss of all visitation privileges.
Visitor Conduct:
    • No revealing or provocative clothing will be permitted.
    • Visitors will be responsible for their children. Unruly or unattended children will be cause for
        termination of the visit. Children are not to be left unattended in the lobby or in the vehicle parking
        lot.
    • Loud, boisterous, or disruptive behavior will not be tolerated during visits and will be cause for the
        termination of the visit. This also includes lewd and provocative behavior.
    • Visitors are not permitted to use another inmates name to video visit another inmate; this will be cause
        to terminate the visit and the visitor banned from using the video visitation.

Mail – All mail sent to inmates should be addressed as follows:
                  Laclede County Detention Center
                  Inmate’s Name
                  240 N. Adams
                  Lebanon, MO 65536
All mail must be delivered by the U.S. Postal Service.
Both incoming and outgoing mail shall be inspected for contraband. Incoming legal mail will be opened and
inspect in front of the inmate for any contraband. Magazines, oversized books and hard back books are not
permitted unless approved by the Support Division Commander.

Legal mail is defined as mail from an attorney, or any county, state, or federal court. It is not considered legal
mail when it is sent from family or friends, even if it contains legal papers, nor does it include mail to or from
doctors, psychiatrists, Child Protective Services, or Social Security.
Inmates are permitted to received books and newspapers sent from the publisher.
The following will not be permitted: photos not printed on photo paper, mail with any foreign substances,
provocative photos, cards or letters containing marker, crayon, glitter, or gel ink; mail with staples, extra
stamps, paper, or envelopes; no 2nd or 3rd party mail. All unapproved mail will either be returned to the sender
or placed in the inmate’s property.
Inmates are not permitted to receive correspondence from other correctional facilities.

Damage to Jail Property; Class E Felony (RSMo. 221.353) –
      1. A person commits the offense of damage to jail property if such person knowingly damages any city,
county, or private jail building or other jail property.
       2. A person commits the crime of damage to jail property if such person knowingly starts a fire in any
city, county, or private jail building or other jail property.
     3. Damage to jail property is a class E felony.
Inmates will be held responsible for intentional destruction or damage to county property. The inmate may be
subject to discipline and/or criminal charges.

Inmate Grievances – All inmates have the right to appeal and have resolved grievances related to any
condition of their confinement; however, grievances are to be filed on an individual basis. So called “Group”
or “Class action” grievances will not be accepted.

The following are non-grievable issues:


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    • Legal decision as directed by the court
    • Inmate disciplinary actions (a specific procedure for disciplinary actions)
When an inmate has a grievance, they should attempt to resolve it at the lowest level possible, including
discussion with a detention officer. However, when an inmate has a grievance, an officer will provide a request
form.

There are three levels at which an inmate grievance maybe resolved. Every attempt will be made to resolve the
grievance at the lowest possible level. However, when an inmate is dissatisfied with the resolution, they have
the right to appeal to the next level.
         Level 1 – Detention Lieutenant – The Detention Lieutenant must provide a reply, and a resolution, if
         possible, for the grievance and return it to the inmate within five business days.

            •    If the inmate disagrees with this reply or resolution, they may appeal to next level by signing
                 the inmate request form and writing the following “I wish to appeal to the next level” and
                 returning the form to the officer immediately. The inmate must state the specific grounds for
                 the appeal by citing the policy violation.

        Level 2 – Support Services Division Commander – If the grievance cannot be resolved at Level 1,
        the grievance will be reviewed at Level 2.
            • Level 2 reviews must be completed and returned to the inmate within seven business days,
                 excluding weekends and holidays.
            • If the inmate disagrees with the Level 2 reply or resolution, they may appeal to the Sheriff by
                 signing the form and writing the following “I wish to appeal to the next level” and returning
                 the form to the officer immediately. The inmate must state the specific grounds for the appeal
                 by citing the policy violation.

        Level 3 – Sheriff – If the grievance cannot be resolved at Level 2, the Sheriff will review the
        grievance.
            • The Sheriff’s review must be completed and returned to the inmate within ten business days,
                excluding weekends and holidays.

The original complete grievance is to be filed in the inmates incarceration file.
Limitation on Inmate Grievances: The discretion of Detention Lieutenant may refuse to accept a grievance
from an inmate if the inmate is filing an excessive number of grievances, or frivolous grievances or grieving
issues that have been resolved.

Work Release – All work release programs must have the Sheriff’s approval. Work release is a court
approved employment program. The inmate must read over and agree to the rules for the work release program
with the Laclede County Detention Center. The inmate will be responsible for all required payments to the
facility.

Education – Inmate education programs are available. If an inmate wishes to participate they will need to send
an inmate request form to intake. All educational programs will be monitored by the detention staff. The
detention staff has the authority to terminate an inmate’s access to educational programs for cause.

Inmate Right to Freedom of Expression
   • Inmates have the right to freely express their views provided they are not posing a threat to the
       security of the facility or posing a clear danger of violence or disruption.
   • The detention staff shall not discipline an inmate for peacefully expressing views.
   • The detention staff may prohibit groups of inmates from meeting for the purpose of expressing views
       that would present a clear danger of violence or disruption.
   • The detention staff may take immediate disciplinary action against an inmate whose speech is
       inflammatory or expressing violence, and/or encourages others to act in such a way that would


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        interfere with normal operation of the facility. Refusing to respond to a lawful order given by a staff
        member shall result in disciplinary actions.
    •   Inmates do not have the right to organize a labor union within the facility.

Voting
    • Eligible inmates shall be allowed to vote in local, state, and federal elections.
    • All voting shall be done by absentee ballot.
          o The inmate shall write the Registrar of Voters in the country in which they are registered to
               request an absentee ballot. The inmate must provide the following information:
                         Printed name as registered
                         Written signature as registered
                         Current address as registered
                         Address to which the absentee ballot is to be sent
          o The Registrar of Voters must receive all requests for absentee ballot no later than seven days
               prior to election.
          o An inmate may register to vote by requesting a voter’s registration form from the Laclede
               County Elections Office. Upon completion of the form it is to be returned to the proper
               Registrar of Voters.
          o To be eligible to vote in an upcoming election, an inmate must register no later than 29 days
               prior to that election.

Access to Counsel
   • All inmates, whether pretrial or sentenced, have the right to access legal counsel.
   • To obtain legal counsel, an inmate may telephone private counsel or the Public Defender’s Office
        from the dayroom phones. Public defender applications are available by request.
   • When legal counsel meets with an inmate they are provided with a private meeting room.

Shakedowns – Shakedowns will be conducted on a regular basis. Inmate’s property may be displaced during
the shakedown. Officers will not read inmate’s legal documents during the search. An inmate does not have the
right to be present during the search. All contraband will be removed from the pod.

Lockdowns – Lockdown is the securing of inmates in their cells. If inmates are required to be lockdown they
will be ordered to “lockdown”. Inmates are required to immediately comply regardless of the reason for the
lockdown. Inmates with cells in their pod will go immediately to their assigned cell and lock the door behind
them. Inmates housed in a pod without cells will go immediately to their bunks, get on them, and remain
quiet. The only time the inmates in an open bay pod may leave their bunks after lockdown is when they need
to use the bathroom, this is the only exception.

    •     Night Lockdown – All pods will be locked down from 10:30 pm to 07:00 am.
    •     Other lockdown times
              o Medical emergencies in the pod
              o Maintenance and repair to the pod
              o Medical services conducted within the pod (done at the discretion of the staff in charge).
              o Disciplinary action
              o Emergencies
              o Note: During a physical or verbal altercation inmates will be ordered to lockdown.
                   Inmates refusing to obey the order will face discipline.
Disciplinary lockdowns – Inmates on disciplinary and administrative lockdown are not allowed to be out of
their cell with other inmates. If staffing allows, inmates on lockdown or segregation will be allowed out of
their cells for one hour per day after all other inmates are locked down for the evening.
Disciplinary lockdown is a form of discipline imposed on inmates whose actions warrant such discipline based
on rule violations or an accumulation of rule violations.
     • Inmates on disciplinary lockdown will not be allowed the following:

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              o Visitation will be limited to legal counsel
              o Commissary
              o E-cigarette
              o Participation in programs
              o Television
              o Telephone
     • Inmates on disciplinary lockdown shall not be denied access to the courts or their attorney. They can
         send and received personal mail.
     • Inmates on disciplinary lockdown will normally be locked down 23 hours a day. They will normally
         be allowed one hour out after all other inmates are locked down for the evening. During this time out
         of the cell the inmate has to stay in the dayroom. Talking to other inmates will not be tolerated and
         will result in the loss of the hour out and may result in further disciplinary action.
     • Inmates on disciplinary lockdown will be allowed to shower, and return to the dayroom.
     • If an inmate is placed on administrative lockdown only the Detention Lieutenant will determine the
         release from lockdown.
Special Housing – If it is determined that an inmate is an escape risk, prone to assaulting staff or other inmates
or likely to need protection from other inmates; they may be placed in segregation.

Intercoms – The intercoms in this facility are for the safety and care of the inmates. They are to be used to
report emergencies and other immediate problems. The intercoms are not to be covered or tampered with at
any time. Misuse or tampering of the intercoms will result in disciplinary action being taken against the
offending inmate and/or criminal charges.

Incarceration Fees – Inmates incarcerated in the Laclede County Detention Center may be charged fees for
their incarceration.

No Hostage Policy – The Laclede County Sheriff’s Office maintains a NO-HOSTAGE FACILITY and will
not consider bargaining with hostage takers for any reason, including the following:
    • Escape
    • Exchange of hostages
    • Release of other inmates
    • Furnishing weapons
    • A supply of dangerous drugs or alcohol
    • Granting amnesty
    • Transportation

Medical Services - If an inmate needs medical care they will need to submit a Sick Call Form. The Sick Call
Form can be acquired by asking detention staff.

    •   All medical requests will be promptly referred to the medical staff’s box.

    •   If the inmate needs immediate medical attention, the detention staff will do a medical protocol and
        contact the Detention Doctor for orders to treat the inmate.

    •   Inmates will be screened and evaluated by the nurse. Inmates may be referred to the doctor, dentist or
        specialty clinic at the inmate’s expense.

    •   No inmate will be refused treatment due to lack of funds.

    •   All medication coming into the facility must be approved by the Detention Doctor before it can be
        given to an inmate. If a medication is not approved it will be placed in the inmate’s personal property.

    •   If there is no order for an inmate to have medication none will be given. It is illegal for the nurse or
        detention staff to provide medication to an inmate without an order.

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•   When medications are being passed out inmates will be present at the pod door. Inmates will have a
    cup of water when they report. Inmates are not to walk away from detention staff without taking
    their medication first.

•   Inmates in lockdown will receive their medications in their cell.

•   Inmates should know what medications they are on and are not to take another inmate’s medications.
    If the inmate does not recognize the medication given to them, they should ask the detention staff
    about it before taking it. Detention staff shall initial the medication log (MARS) indicating the inmate
    has received their medication for that med pass.

•   Medications are normally passed twice a day.




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                                     INMATE DISCIPLINARY PROCEDURES

Disciplinary Actions – For the safety and security of all staff and inmates, inmates are required to comply
with all applicable laws (local, state, and federal), and facility regulations and staff directives.

    •   Facility rules must be followed. Failure to do so may lead to.
            o Reprimand
            o Loss of one or more privileges
            o Restitution through civil action
            o Disciplinary lockdown
            o Termination of work release
            o Removal from inmate worker status
            o Criminal prosecution

                                                  Violations
                      Any violation of facility rules shall result in disciplinary action.
    •   Reprimand
    •   Loss of privileges
    •   Restitution
    •   Disciplinary lockdown
    •   Removal from work release
    •   Removal from inmate worker
    •   Criminal prosecution


Repetitive Violations

This is when repetitive violations of the facility rules occur, they shall be documented and the inmate shall be
informed of the charges in writing.




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                                      RULES OF INMATE CONDUCT

Disciplinary Sections

1………………………………………………….Assaults/Coercion
2………………………………………………….Sexual Offenses
3………………………………………………….Clothing/Bedding
4………………………………………………….Conduct
5………………………………………………….Contraband and Unauthorized Possessions
6………………………………………………….Counts – Inmates
7………………………………………………….Destruction of Property
8………………………………………………….Emergency
9………………………………………………….Escapes
10………………………………………………...Fires
11………………………………………………...Gambling/Stores
12………………………………………………...Personal Hygiene
13………………………………………………...Insubordination
14………………………………………………...Mail
15………………………………………………...Meals
16………………………………………………...Medical Care
17………………………………………………...Recreation
18………………………………………………...Riots – Food Strikes
19………………………………………………...Thefts
20………………………………………………...Unauthorized Communications
21………………………………………………...Under the Influence of Alcohol, Narcotics and
Unprescribed Drugs
22………………………………………………...Visits
23………………………………………………...Minimum Security

                                          Inmate violations defined
Assaults/Coercion

Assaults Defined: Assault is the unlawful attempt, coupled with the present ability, to injure another person.
Assault also includes any willful and unlawful use of force or violence upon another person.

1.1-1   No inmate shall assault any other person.

1.1-2   No inmate shall coerce any other inmate to engage in any type of fight, or other disruption.

1.1-3   No inmate shall attempt to obtain, by coercion, food, clothing, commissary, materials, or any other
        item from another inmate.

Sexual Offenses

2.1-1   No inmate shall coerce any other person to engage in any kind of sexual conduct including, but not
        limited to, fondling of the genitals and anal or oral copulation.

2.1-2   No inmate shall engage in any kind of sexual activity, including but limited to, fondling of the genitals
        and anal or oral copulation.

Clothing and Bedding

3.1-1   A bunk will have one mattress unless authorized by the Medical Staff.




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3.1-2   Mattresses are to remain on the bunks at all times. Under no circumstances are mattresses to be placed
        on the floor or removed from the cell or cell block.

3.1-3   No inmate shall use bedding, clothing, or towels in an unauthorized manner (i.e., window coverings,
        punching bag, weight bag, hammock, clothesline etc.)

3.1-4   Clothing and blankets are not to be hung in any manner from the bunks or railings.

3.1-5   Facility issued clothing is the only authorized dress. Exception: Work release inmates will change to
        street clothing immediately prior to departing to their work assignment. Upon return, work release
        inmates shall immediately change to facility issued clothing.

3.1-6   Inmates must be dressed at all times.

3.1-7   All clothing must be neat and clean. All clothing will be worn properly as it is designed i.e., clothing
        is not to be fashioned into bandanas or altered by cutting or written on. The rolling up of sleeves or
        shorts is not permitted.

3.1-8   No inmate shall have in their possession any extra issue of clothing, bedding, towels etc. except when
        specifically authorized. All clothing, bedding, and towel must be returned to intake at the time of
        release.

3.1-9   Each inmate shall maintain a neatly made bunk when not in use and maintain the area around the bunk
        in a neat and orderly fashion.

3.1-10 Inmates shall not lie, sleep, or climb on, place feet upon, or use the furniture in the dayroom for
       purposes other than that for which it is intended.

3.1-11 Outside of their pod, female inmates must wear bras, t-shirts, shorts, jumpsuits and shoes.

3.1-12 Outside of their pod, males must wear t-shirts, shorts, jumpsuits and shoes.

3.1-13 In the recreation gym, inmates shall wear shorts, t-shirt and shoes at all times.

Conduct

4.1-1   No inmate shall curse, swear at, make obscene or disrespectful gestures toward, or use any derogatory
        language toward any member of the detention staff, law enforcement officer, Judge, Probation or
        Parole Officer, Court employee, civilian employee or private citizen. Inmates will not disrupt court or
        probation and parole proceedings.

4.1-2   No inmate shall lie or falsely represent the truth to any officer or detention staff to gain advantages or
        privileges.

4.1-3   No inmate shall falsely identify themselves to an officer or detention staff.

4.1-4   No inmate shall enter any unauthorized area unless directed to by an Officer or Detention Officer.

4.1-5   No inmate shall violate any Federal, State, or local criminal statute.

4.1-6   No person shall aid or coerce another inmate into violating any Federal, State or local criminal statute.

4.1-7   Smoking is not permitted in the facility

4.1-8   No inmate shall climb, in any fashion, the pod or gym walls or fixed equipment anywhere in the
        facility.


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4.1-9   Inmates housed in A-pod are not permitted to leave their bunks after lockdown at night until called for
        breakfast. The only exception the inmate will be allowed to use the bathroom.

4.1-10 No inmate shall threaten any officer or staff employee of the Laclede County Sheriff’s Office.

4.1-11 No inmate shall act aggressively in the presences of a K-9 team.

4.1-12 No inmate shall expose themselves to any officer, nor shall they masturbate in the presence of any
       officer. Such behavior will result in the filing of criminal charges. Inmates showering shall stay behind
       the privacy wall.

4.1-13 Only those inmates assigned to a specific cell will be allowed in that cell.

4.1-14 Courtesy to staff and other inmates is required. Catcalls, whistling or other noises denoting disrespect
       will not be tolerated.

4.1-15 No inmate shall engage in loud, boisterous or disruptive behavior at any time.

4.1-16 After evening lockdown or if a lockdown is ordered at any other time there will be no talking.

4.1-17 No inmate shall run in the facility, other than in authorized recreation areas, unless so directed by an
       officer.

4.1-18 No inmate shall roam or wander outside the facility area unless performing some authorized duty that
       requires such or unless directed by an officer.

4.1-19 No littering will be allowed. Inmates shall place all trash in the proper containers.

4.1-20 Inmates shall keep their living areas, including bunks, pod, dayrooms, as well as other occupied areas
       neat, clean and orderly.

4.1-21 No inmate shall change their assigned bunk, cell or pod without the approval of an officer.

4.1-22 Inmates shall be in their cells or on bunks for lockdown. The dayroom lights, telephones, and
       television will be turned off at lockdown.

4.1-23 Inmates will not sit or lie on any bunk other than the one assigned to them.

4.1-24 Inmates in A-pod shall only be in the bunk area in which their assigned bunk is located.

4.1-25 Inmates will not go into any other inmate’s property or desk.

4.1-26 Spitting is prohibited on facility grounds.

4.1-27 Inmates are allowed two library books in their possession. Exceptions from must be approved by a
       Detention Supervisor.

4.1-28 No inmate shall delay leaving a pod or cell after being notified to go to court.

4.1-29 The rules of the facility are to be uniformly enforced.

4.1-30 No inmate shall disrupt or cause a disruption of the facility.

4.1-31 No inmate shall urinate or defecate in any place other than the provided toilet.




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4.1-32 No inmate shall conspire, aid, abet, assist or counsel, or act as a lookout for any other inmate to violate
       any rule or regulation of this facility. Any person who acts as a lookout or assists will be considered
       an accomplice to that violation and shall be found in violation of the same rule.

4.1-33   There will be no horse playing, play fighting, or sparring between inmates anywhere in the facility.

4.1-34 Inmates will not approach the door of the tower until authorized to do so by an officer.

4.1-35 Inmates will not take anything from an officer station or its confines without authorization of the
       officer.

4.1-36 Inmates will not use the intercoms in the hallways except to report and emergency.

4.1-37 Inmates will not use the intercoms in their cells or the dayrooms except to report emergencies and to
       make reasonable requests about immediate problems. Requests about recreation time, court time,
       visitation and other issues that are not an immediate problem, shall be addressed on the Inmate
       Request Form.

4.1-38 Inmates shall not cover interior or exterior windows in their cells or cell blocks.

4.1-39 No inmate shall make any noise(s) directed at a K-9 team that would distract the dog from its duties.

4.1-40 No inmate shall pass in close proximity of a K-9 team without first asking permission of the
       handler/officer.

4.1-41 Three-way telephone calls are not permitted.

Contraband – Unauthorized Possession
Contraband defined – Contraband is any item specifically not permitted in the facility (i.e. weapons, drugs,
       drug paraphernalia etc.) or any item used or possessed for any reason other than the items original
       purpose. (such as playing cards made into boxes, pictures frames, pencil extenders, toilet paper
       flowers, jewelry etc.)

5.1-1    No inmate shall have in his possession the identification of another inmate.

5.1-2    No inmate shall possess any narcotics or alcoholic beverage, or detention wine commonly called
         hootch or the makings or ingredients of hootch. An inmate shall be charged with a felony for
         possession of a controlled substance or alcoholic beverage.

5.1-3    No inmate shall possess any tattooing paraphernalia. No inmate shall tattoo themselves or any other
         inmate. No inmate shall allow themselves to be tattooed.

5.1-4    No inmate shall possess any weapon or unauthorized implement capable of inflicting bodily harm.

5.1-5    No inmate shall possess any medication that has not been administered at the direction of a doctor or
         nurse.

5.1-6    No inmate shall possess any object designed to be stuck into an electrical outlet for lighting a cigarette
         or for any other reason.

5.1-7    No inmate shall possess any item that could aid in escape.

5.1-8    No inmate shall possess any pornographic, lewd or obscene material.

5.1-9    Inmates who are authorized to use felt tip or ballpoint pens shall not remove them from where they are
         being permitted to use them.


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5.1-10 No inmate shall possess any food items in any housing location with the exception of those items
       purchased through the commissary. Food served in the pods shall be consumed at the time of serving
       and not stored.

5.1-11 No inmate shall have any cash in their possession.

5.1-12 No inmate shall possess any altered facility property or commissary item. All items will be used as
       they were originally intended.

5.1-13 No inmate shall possess any writing utensils other than a pencil or a security pen unless authorized by
       the Detention Lieutenant.

5.1-14 Inmates shall be held responsible for any contraband found in their cells.

5.1-15 No inmate shall use toilet paper for what is it not intended for.

Inmate Counts

6.1-1   Inmates shall be easily visible with their face in clear view until the count has been completed.

6.1-2   No inmate shall engage in talking during the inmate count.

6.1-3   Inmates shall promptly attend all counts unless excused by staff.

6.1-4   No inmate shall leave their pod until count is complete.

6.1-5   No inmate shall purposely cause a count to be incorrect.

6.1-6   No inmate shall willfully cause any delay in the count being completed.

Destruction of Property - Any inmate who destroys, damages, tampers with or alters facility property may be
held financially responsible and/or criminally charged.

7.1-1   No inmates shall willfully damage, destroy, or deface facilty property. This includes but is not limited
        to cutting, ripping, or stretching of clothing, bedding or mattress issued by the Laclede County Sheriff
        Office.

7.1-2   Inmates shall be responsible for any damaged facility property found in their cell or in their
        possession.

7.1-3   No inmate shall willfully damage or destroy property belonging to another inmate.

7.1-4   No inmate shall tamper with, alter, jam or otherwise damage or destroy any lock, lock mechanism,
        door, or security device.

7.1-5   No inmate shall willfully destroy, alter or deface any facility documents, records, notices, signs or
        bulletin device.

7.1-6   No inmate shall willfully destroy, damage, alter, jam or tamper with any electrical outlet (lights,
        intercoms, plug ins, electrical covers, phones, video visitation, etc.) No inmate shall possess any
        broken or damaged electrical parts.

7.1-7   No inmate shall willfully damage or destroy any part of the facility (break windows, doors, floor tiles,
        base board, etc).

7.1-8   No clothing, bedding, clothes lines, pictures or other articles shall be hung from or attached to
        windows, bunks, hand rails, sprinklers, walls or light fixtures.

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7.1-9    No inmate shall willfully clog sinks, showers, drains, toilets, water, sewage or ventilation systems.

Emergency

8.1-1    No inmate shall make a false report of an emergency (medical, fire, fight, etc.). Anyone making a
         false report may be criminally charged.

Escape

9.1-1    No inmate shall attempt, aid, counsel, conspire, or assist in any manner to escape or attempt to escape.
         Any inmate that escapes or attempt to escape will be criminally charged.

Fires

10.1-1 No inmate shall aid, counsel, attempt or assist in any manner to start a fire of any kind.

10.1-2 No inmate shall tamper with or damage the sprinkler system.

10.1-3 No inmate shall possess any burnt items.

Gambling/Stores

11.1-1 No inmate shall engage in any form of gambling or operate a store or use any other means of
       obtaining money and/or property from another inmate.

Personal Hygiene

12.1-1 No inmate shall place any items through any pierced area of their body.

12.1-2 Haircuts identifying an inmate as a member of a gang will not be permitted.

12.1-3 Inmates will maintain their personal hygiene by showering and wearing clean clothes.

12.1-4 Inmates shall report cases of bedbugs, head lice or body vermin to detention staff.

Insubordination

13.1-1 No inmate shall refuse to comply with a direct order given by an officer or detention staff.

Mail

14.1-1 No inmate shall mail any correspondence that concern plots or plans to disrupt the order and/or breach
       the security of the facility.

14.1-2 No inmate shall mail any correspondence that concern plans to escape from or to assist in an escape.

14.1-3 No inmate shall mail any correspondence that concerns the sending of contraband into the facility.

14.1-4 No inmate shall mail any correspondence that would represent a clear and present danger to any
       person inside or outside of the facility.

14.1-5 No inmate shall mail any drawing or diagrams of the facility.

14.1-6 No inmate shall mail any correspondence that contains threats of bodily injuries, blackmail or
       extortion.

14.1-7 No inmate shall mail any personal information about Sheriff’s Office employees.


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14.1-8 No Inmate shall mail any items, writing, drawings, that violates U.S. Postal Regulations or describes
       the making of any weapons, explosives, poisons, illegal drugs.

14.1-9 No inmate shall possess another inmate’s mail.

14.1-10 All mail must be properly addressed and have proper postage.

14.1-11 No inmate shall write unnecessary messages on the envelope that will obscure the address or return
        address.

Meals

15.1-1 No inmate shall throw food, utensils, cups, or trays at any time.

15.1-2 No inmate shall dump or attempt to dump the tray cart or drink cart.

15.1-3 No inmate shall solicit or receive any extra food by trickery, deceit, etc.

15.1-4 No inmate shall take more than one tray at mealtime unless directed to do so by detention staff.

15.1-5 No inmate shall keep their tray or cup after the completion of their meal.

Medical Care

16.1-1 No inmate shall store medication.

16.1-2 No inmate will attempt to receive the medication of another inmate or accept medication from another
       inmate.

16.1-3 No inmate shall attempt sell, trade or give away their medication.

Recreation

17.1-1 Recreation will be allowed when staffing and space is available.

Riots

18.1-1 No inmate shall participate in any riot or incite any other inmates to riot.

Thefts

19.1-1 No inmate shall steal any property belonging to the Laclede County Sheriff’s Office or any person.

Unauthorized Communications

20.1-1 No inmate shall communicate by, passing notes or any other items by means of the inmate workers,
       fire doors, or detention staff.

20.1-2 No inmate, while housed in a pod or any other area of the facility shall communicate with another
       inmate of a different pod or in isolation.

20.1-3 No inmate shall communicate by passing, pass or receive an item from any visitor, civilian or released
       inmate unless authorized by staff.

20.1-4 No inmate shall engage in any unauthorized communications in the form of gestures with another
       inmate. This includes all gang related gestures.



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20.1-5 Communication between inmate trustee workers and any other inmates is not permitted in anyway
       unless authorized by staff.

Under the Influence of Alcohol, Narcotics, or Unprescribed Drugs

21.1-1 No inmate shall be under the influence of ANY alcohol, narcotics or any drugs that have not been
       administered by staff.

Visits

22.1-1 Unauthorized communication with visitors will not be permitted.

22.1-2 No inmate shall engage in any contact, loud, boisterous or disruptive behavior, sexual conduct, or the
       use of profanities during visits. Visits may be terminated as a result of any or all of these actions.

22.1-3 No inmate shall receive any item or property from any visitor.

22.1-4 Inmates will visit with their own visitors only. Both visits may be terminated due to a violation of this
       rule.

Inmate Workers

             •   Inmates will work where they are assigned. Refusal will result in loss of all or part of inmate
                 worker status.
             •   Bunk areas will be kept neat and orderly.
             •   Tower and tower door is off limits to all inmates unless directed to approach. Inmates must be
                 properly dressed when called to the tower.
             •   Inmate workers shall not leave the facility unless escorted by a detention officer.
             •   Inmate workers caught with smoking contraband or giving smoking contraband to other
                 inmates will automatically lose their inmate worker status and shall be criminally charged.
             •   Inmate workers will be up and ready to perform their duties. Refusal to do so shall result in
                 the loss of their inmate worker status.
             •   Inmate workers will be responsible for cleaning their area, equipment and materials they use
                 for their duties.
             •   Inmate workers involved in the preparation and service of meals shall wash their hands prior
                 to duty, during duty when soiled, prior to food preparation, prior to food service and after
                 using the restroom.
             •   Inmate workers involved in the preparation and service of meals shall wear a hair net and
                 plastic gloves.
             •   All rules of the facility apply to all inmate workers and work release.
             •   Inmate workers working in the kitchen are not permitted to use the computer. Violation of
                 this will result in loss of inmate worker status.
             •   Inmate workers are not permitted to pass anything (notes, messages, commissary, etc.) to
                 other inmates.
             •   Inmate workers are not to go into pods without authorization from staff.




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